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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             EDCR20-00118-JGB

 Defendant            MICHALE CHRISTIAN LENDE                                Social Security No. 1          0     5      7

 akas: NONE                                                                  (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH   DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         Oct.    25   2021


 COUNSEL                                                                  Alan Baum, Retained
                                                                             (Name of Counsel)

     PLEA               GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO              NOT
                                                                                                                CONTENDERE          GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

                      Possession Of Child Pornography in violation of 18 U.S.C. §§ 2252A(a)(5)(B),(b)(2).

JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no
AND PROB/ sufficient cause to the contrary was shown, or appeared to the Court, the Court adjudged the defendant
  COMM
  ORDER
          guilty as charged and convicted and ordered that: Pursuant to the Sentencing Reform Act of 1984, it is
                      the judgment of the Court that the defendant, Michael Christian Lende, is hereby committed on
                      Count 1 of the Information to the custody of the Bureau of Prisons for a term of forty-two (42)
                      months.

      It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
      immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25
      per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

      The additional special assessment of $5,000, pursuant to 18 U.S.C. 3014(a)(3), is not assessed because the Court
      finds that the defendant is indigent.

      It is ordered that the defendant shall pay restitution in the total amount of $2,999.99 pursuant to 18 U.S.C. § 2259.

      The amount of restitution ordered shall be paid as follows:

      Victim                           Amount
      Cindy                            $176.47
      Maureen                          $176.47
      Henley                           $176.47
      Mya                              $176.47
      Pia                              $176.47
      Violet                           $176.47
      Jane                             $176.47
      Sierra                           $176.47
      Savannah                         $176.47
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      Skylar                       $176.47
      Sally                        $176.47
      Jenny                        $176.47
      Sarah                        $176.47
      Erika                        $176.47
      Tori                         $176.47
      Emily                        $176.47
      Vicky                        $176.47

      The Court finds from a consideration of the record that the defendant's economic circumstances allow for
      restitution payments pursuant to the following schedule: Restitution shall be due during the period of
      imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial
      Responsibility Program. If any amount of the restitution remains unpaid after release from custody, monthly
      payments of at least 10% of defendant's gross monthly income but not less than $50, whichever is greater, shall be
      made monthly during the period of supervised release. These payments shall begin 30 days after the
      commencement of supervision.

      The amount of restitution ordered shall be paid as set forth on the list attached to this judgment. If the defendant
      makes a partial payment, each payee shall receive approximately proportional payment unless another priority
      order or percentage payment is specified.

      Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not
      have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18
      U.S.C. § 3612(g).

      Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he
      is unable to pay and is not likely to become able to pay any fine.

      The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services
      Office and Second Amended General Order 20-04.

      Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Michael
      Christian Lende, is hereby committed on Count 1 of the Information to the custody of the Bureau of Prisons for a
      term of forty-two (42) months.

      The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and
      provide all necessary treatment. The Court also recommends that the Bureau of Prisons provide the defendant
      with at least a 90-day supply of medication upon release.

      Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 10 years under
      the following terms and conditions:

                1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                      Services Office and Second Amended General Order 20-04, including the conditions of probation and
                      supervised release set forth in Section III of Second Amended General Order 20-04.

                2. During the period of community supervision, the defendant shall pay the special assessment and
                      restitution in accordance with this judgment's orders pertaining to such payment.

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                3. The defendant shall cooperate in the collection of a DNA sample from the defendant.

                4. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
                      judgments and any other financial gains to the Court ordered financial obligation.

                5. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit
                      to one drug test within 15 days of release from custody and at least two periodic drug tests thereafter,
                      not to exceed eight tests per month, as directed by the Probation Officer.

                6. The defendant shall refrain from the use of alcohol and shall submit to breathalyzer testing, not to exceed
                      eight (8) tests per month, to determine if the defendant has consumed alcohol.

                7. The defendant shall participate in an outpatient substance abuse treatment and counseling program that
                      includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The defendant
                      shall abstain from using alcohol and illicit drugs, and from abusing prescription medications during the
                      period of supervision.

                Computer Restrictions and Conditions

                8. The defendant shall possess and use only those computers and computer-related devices, screen
                      usernames, passwords, email accounts, and internet service providers (ISPs), social media accounts,
                      messaging applications and cloud storage accounts, that have been disclosed to the Probation Officer
                      upon commencement of supervision. Any changes or additions are to be disclosed to the Probation
                      Officer prior to the first use. Computers and computer-related devices include personal computers,
                      internet appliances, electronic games, cellular telephones, digital storage media, and their peripheral
                      equipment, that can access, or can be modified to access, the internet, electronic bulletin boards, and
                      other computers.

                9. All computers, computer-related devices, and their peripheral equipment, used by the defendant shall be
                      subject to search, seizure and computer monitoring. This shall not apply to items used at the employment
                      site that are maintained and monitored by the employer.

                10. The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The
                      defendant shall pay the cost of the Computer Monitoring Program.

                Sex Offender Conditions

                12. Within three (3) days of release from prison, the defendant shall register as a sex offender, and keep the
                      registration current, in each jurisdiction where the defendant resides, is employed and is a student,
                      pursuant to the registration procedures that have been established in each jurisdiction. When registering
                      for the first time, the defendant shall also register in the jurisdiction in which the
                      conviction occurred if different from the defendant's jurisdiction of residence. The defendant shall
                      provide proof of registration to the Probation Officer within 48 hours of registration.



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                13. The defendant shall participate in a psychological counseling or psychiatric treatment or a sex offender
                      treatment program, or any combination thereof as approved and directed by the Probation Officer. The
                      defendant shall abide by all rules, requirements, and conditions of such program, including submission
                      to risk assessment evaluations and physiological testing, such as polygraph and Abel testing. The
                      defendant retains the right to invoke the Fifth Amendment. The Court authorizes the Probation Officer
                      to disclose the Presentence Report, and any previous mental health evaluations or reports, to the
                      treatment provider. The treatment provider may provide information (excluding the Presentence report),
                      to State or local social service agencies (such as the State of California, Department of Social Service),
                      for the purpose of the client's rehabilitation.

                14. The defendant shall not view or possess any materials, including pictures, photographs, books, writings,
                      drawings, videos, or video games, depicting or describing child pornography, as defined in 18 U.S.C.
                      §2256(8), or sexually explicit conduct depicting minors, as defined at 18 U.S.C. §2256(2). This condition
                      does not prohibit the defendant from possessing materials solely because they are necessary to, and used
                      for, a collateral attack, nor does it prohibit the defendant from possessing materials prepared and used
                      for the purposes of the defendant's Court-mandated sex offender treatment, when the defendant's
                      treatment provider or the probation officer has approved of the defendant's possession of the material
                      in advance.

                15. The defendant shall not own, use or have access to the services of any commercial mail-receiving
                      agency, nor shall the defendant open or maintain a post office box, without the prior written approval of
                      the Probation Officer.

                16. The defendant shall not enter, or loiter, within 100 feet of school yards, parks, public swimming pools,
                      playgrounds, youth centers, video arcade facilities, amusement and theme parks, or other places
                      primarily used by persons under the age of 18, without the prior written authorization of the probation
                      officer.

                17. The defendant shall not associate or have verbal, written, telephonic, or electronic communication with
                      any person under the age of 18, except: (a) in the presence of the parent or legal guardian of said minor;
                      and (b) on the condition that the defendant notify said parent or legal guardian of the defendant's
                      conviction in the instant offense/prior offense. This provision does not encompass persons under the age
                      of 18, such as waiters, cashiers, ticket vendors, etc., whom the defendant must interact with in order to
                      obtain ordinary and usual commercial services.

                18. The defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by a
                      business or organization that causes the defendant to regularly contact persons under the age of 18.

                19. The defendant's employment shall be approved by the Probation Officer, and any change in employment
                      must be pre-approved by the Probation Officer. The defendant shall submit the name and address of the
                      proposed employer to the Probation Officer at least ten (10) days prior to any scheduled change.

                20. The defendant shall submit to a search, at any time, with or without warrant, and by any law enforcement
                      or probation officer, of the defendant's person and any property, house, residence, vehicle, papers,
                      computers, cell phones, other electronic communication or data storage devices or media, email
                      accounts, social media accounts, cloud storage accounts, effects and other areas under the defendant's

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                      control, upon reasonable suspicion concerning a violation of a condition of supervision or unlawful
                      conduct by the defendant, or by any probation officer in the lawful discharge of the officer's supervision
                      functions.

                21. The defendant shall not view or possess any materials, including pictures, photographs, books, writings,
                      drawings, videos, or video games, depicting or describing child erotica, which is defined as a person
                      under the age of 18 in partial or complete state of nudity, in sexually provocative poses, viewed for the
                      purpose of sexual arousal.

                22. The defendant shall not possess or view any materials such as videos, magazines, photographs, computer
                      images or other matter that depict "actual sexually explicit conduct" involving adults as defined by 18
                      USC 2257(h)(1).

        The Court recommends the Bureau of Prisons evaluate defendant’s eligibility for the 500-hour Residential Drug
        Abuse Program (RDAP), and the Sex Offender Treatment Program (SOTP). Further, it is recommended that
        Defendant be placed at FCI Englewood, Colorado.

        Defendant was informed of his right to appeal.

        It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons on
        or before 12 noon, January 7, 2022. In the absence of such designation, the defendant shall report on or before
        the same date and time, to the United States Marshal located at: United State Court House, 3470 Twelfth Street,
        Room G122, Riverside, CA 92501


 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions
 of Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of
 supervision, reduce or extend the period of supervision, and at any time during the supervision period or within the
 maximum period permitted by law, may issue a warrant and revoke supervision for a violation occurring during the
 supervision period.




            November 3, 2021
            Date                                                  Jesus G. Bernal, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            November 3, 2021                                By
            Filed Date                                            Maynor Galez, Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                      STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                      While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal,              9.    The defendant must not knowingly associate with
       state, or local crime;                                            any persons engaged in criminal activity and must
 2.    The defendant must report to the probation office in              not knowingly associate with any person convicted
       the federal judicial district of residence within 72              of a felony unless granted permission to do so by
       hours of imposition of a sentence of probation or                 the probation officer. This condition will not apply
       release from imprisonment, unless otherwise                       to intimate family members, unless the court has
       directed by the probation officer;                                completed an individualized review and has
 3.    The defendant must report to the probation office as              determined that the restriction is necessary for
       instructed by the court or probation officer;                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the                  10.   The defendant must refrain from excessive use of
       judicial district without first receiving the                     alcohol and must not purchase, possess, use,
       permission of the court or probation officer;                     distribute, or administer any narcotic or other
 5.    The defendant must answer truthfully the inquiries                controlled substance, or any paraphernalia related
       of the probation officer, unless legitimately                     to such substances, except as prescribed by a
       asserting his or her Fifth Amendment right against                physician;
       self-incrimination as to new criminal conduct;              11.   The defendant must notify the probation officer
 6.    The defendant must reside at a location approved by               within 72 hours of being arrested or questioned by
       the probation officer and must notify the probation               a law enforcement officer;
       officer at least 10 days before any anticipated             12.   For felony cases, the defendant must not possess a
       change or within 72 hours of an unanticipated                     firearm, ammunition, destructive device, or any
       change in residence or persons living in defendant’s              other dangerous weapon;
       residence;                                                  13.   The defendant must not act or enter into any
 7.    The defendant must permit the probation officer to                agreement with a law enforcement agency to act as
       contact him or her at any time at home or elsewhere               an informant or source without the permission of
       and must permit confiscation of any contraband                    the court;
       prohibited by law or the terms of supervision and           14.   The defendant must follow the instructions of the
       observed in plain view by the probation officer;                  probation officer to implement the orders of the
 8.    The defendant must work at a lawful occupation                    court, afford adequate deterrence from criminal
       unless excused by the probation officer for                       conduct, protect the public from further crimes of
       schooling, training, or other acceptable reasons and              the defendant; and provide the defendant with
       must notify the probation officer at least ten days               needed educational or vocational training, medical
       before any change in employment or within 72                      care, or other correctional treatment in the most
       hours of an unanticipated change;                                 effective manner.




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   X The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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